Case 4:18-cv-00298-SPF-JFJ Document 301 Filed in USDC ND/OK on 07/09/21 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OKLAHOMA

    RICHARD FELTZ and ASHTON DENNIS,
    on behalf of themselves and all other similarly
    situated,

                   Plaintiff,

    v.                                                  Case No. 18-CV-0298-SPF-JFJ

    VIC REGALADO, et al.,

                    Defendants.




                PLAINTIFFS’ MOTION TO EXTEND EXPERT REPORT DEADLINE

           Pursuant to Local Rule 7.1(g) Plaintiffs file this motion to request a 60 day extension of

   the deadline for Plaintiffs to complete expert reports and disclosures. Defendant Vic Regalado

   does not object. Judicial Defendants consent on condition that they receive an equal, 60-day

   extension to file their expert reports and disclosures.

           In support of this motion, Plaintiffs state the following:

           1.      Pursuant to the May 7, 2021 Scheduling Order, ECF. No. 293, Plaintiffs and

   Defendants (collectively, the “Parties”) are presently engaged in expert discovery.

           2.      Under the current scheduling order, Plaintiffs’ expert reports and disclosures are to

   be made by July 14, 2021. Defendants’ expert reports and disclosures are to be made by

   September 14, 2021.

           3.      This is Plaintiffs’ first request for an extension of the May 7 scheduling order.

           4.      Plaintiffs’ expert reports include analysis of extensive data produced on May 19,

   2021 by Jari Askins, director of Oklahoma’s Administrative Office of the Courts, in response to a
Case 4:18-cv-00298-SPF-JFJ Document 301 Filed in USDC ND/OK on 07/09/21 Page 2 of 3




   non-party subpoena. At the time that the current scheduling order was proposed and entered,

   Plaintiffs had not received the data, and Plaintiffs’ data expert had not had a chance to review it. It

   has since become clear that an additional sixty days is required for Plaintiffs’ experts to complete

   their work of reviewing, reformatting, processing, analyzing, and reporting on the available

   information.

           5.      The Court has not yet set a trial date for this case. Thus, if the proposed schedule

   for expert discovery and motions set out above is adopted by the Court, it would not have any

   impact on the trial.

           6.      Accordingly, if approved by the Court, the deadlines in the Scheduling Order would

   be amended as follows:

                   The deadline for Plaintiffs’ expert reports and disclosures to be extended from July

                   14, 2021 to September 14, 2021

                   The deadline for Defendants’ expert reports and disclosures to be extended from

                   September 14, 2021 to January 14, 2022.

                   The deadline for all expert discovery to be extended from October 14, 2021 to

                   February 14, 2022.

                   The deadline for motions for class certification to be extended from November 9,

                   2021 to March 9, 2022.

                   The deadline for oppositions to class certification motions to be extended from

                   November 30, 2021 to March 30, 2022.

                   The deadline for replies to class certification to be extended from December 14,

                   2021 to April 14, 2022.




                                                      2
Case 4:18-cv-00298-SPF-JFJ Document 301 Filed in USDC ND/OK on 07/09/21 Page 3 of 3




                  The deadline for summary judgment motions to be extended from December 22,

                  2021 to April 22, 2022.

                  The deadline for summary judgment oppositions to be extended from January 21,

                  2022 to May 23, 2022.

                  The deadline for summary judgment replies to be extended from February 11, 2022

                  to June 13, 2022.

          7.      Plaintiffs would be pleased to participate in a conference to discuss with the Court

   the proposed extensions of time.



          Plaintiffs respectfully request that the Court enter the attached order, imposing the

   deadlines set forth above.


    Date: July 9, 2021

                                                        /s/ Hayley Horowitz
                                                        Hayley Horowitz
                                                        STILL SHE RISES, INC.
                                                        567 E. 36th Street North
                                                        Tulsa, OK 74106
                                                        Telephone: (918) 392-0867
                                                        hayleyh@stillsherises.org




                                                    3
